                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

LYNDA SEATON and                 )
WES SEATON                       )
                                 )
               Plaintiffs,       )                     No. 2:17-CV-04100-NKL
                                 )
     vs.                         )
                                 )                     CASE BELOW:
MODINE MANUFACTURING COMPANY, )                        Circuit Court of Camden County, Missouri
UTC AEROSPACE SYSTEMS, INC., and )                     Case No. 17CM-CC00093
JOHN BLATCHFORD                  )
                                 )                     JURY DEMAND
               Defendants.       )

                      DISCLOSURE OF CORPORATE INTEREST

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and L.R. 7.1, Defendant

Modine Manufacturing Company is a publicly held entity, trading on the New York Stock

Exchange as MOD. Modine Manufacturing Company has no parent company and no publicly

held company owns 10% or more of its stock.

Dated: June 8, 2017                             Respectfully submitted,


                                              By:      /s/ Patrick N. Fanning
                                                    Patrick N. Fanning        MO #47615
                                                    Mark D. Anstoetter        MO #47638
                                                    SHOOK HARDY & BACON L.L.P.
                                                    2555 Grand Blvd.
                                                    Kansas City, MO 64108
                                                    T: 816.474.6550
                                                    F: 816.421.5547
                                                    pfanning@shb.com
                                                    manstoetter@shb.com

                                                ATTORNEYS FOR DEFENDANT MODINE
                                                MANUFACTURING COMPANY




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                                CERTIFICATE OF SERVICE

        Undersigned counsel hereby certifies that on this 8th day of June, 2017, counsel filed the
above pleading with the Court via the CM/ECF system and served a copy via electronic mail on
the following counsel of record:
       Steve Garner
       Chandler Gregg
       Grant Rahmeyer
       415 E. Chestnut Expressway
       Springfield, Missouri 65802
       sgarner@stronglaw.com
       chandler@stronglaw.com
       grahmeyer@stronglaw.com

                                             /s/ Patrick N. Fanning    ______________
                                             An Attorney for Modine Manufacturing Company
 




                                                  
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